 

UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
CHAMBERS OF 101 WEST LOMBARD STREET
]. FREDER]CK MOTZ BALTIMORE, MARY'LAND 21201
UNITED STATES DISTRICT JUDGE (410) 962-0782

(4|0) 962-2698 FAX

August 28, 2017

MEMO TO COUNSEL RE: First Mariner Ba_nk v. United Security Financial Corp.
Civil No. JFM-l7-1723

Dear Counsel:

I am satisfied that this is not a breach of contract action because defendant did not
purchase the Wilkin Loan. Further, the claims asserted by plaintiff are not barred by limitations
because they did not arise more than three years before this action was filed. Additionally,
defendant’S claims do not have to be filed as a counterclaim in the Utah action because they
involve unique facts which are not at issue in the Utah action.

A conference call will be held on September l 1, 2017 at 4:45 p.m. to discuss the
appropriate schedule in this case. l ask counsel for plaintiff to initiate the call. '

Enclosed is a tentative scheduling order with approximate dates for your information
Please consult with one another before the call and be prepared to discuss whether you would
like to participate in a settlement conference either before or after the completion of discovery,
any changes to the dates in the form scheduling order, and whether there is unanimous consent to
proceed before a U.S. Magistrate Judge for all proceedings

Also enclosed is a letter regarding a call-in hour program for the resolution of discovery
disagreements

Dcspite the informal nature of this letter, it should be flagged as an opinion and docketed

as an order.
Very truly yours,
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